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                                                       June 7, 2024


         Attorney Maksim Nemtsev
         Maksim Nemtsev
         20 Park Plaza, Suite 1000
         Boston , MA 02116
         menemtsev@gmail.com


         IN RE:         CERTIFICATE OF ADMISSION AND GOOD STANDING


                  Enclosed please find the Certificate of Admission and Good Standing for Commonwealth of
         Massachusetts Attorney Maksim Nemtsev . The certificate provides certification of the attorney’s
         date of admission and current good standing at the Bar of the Commonwealth of Massachusetts.

                  If you have any questions or should need further assistance, please do not hesitate to contact
         the Attorney Services Department at either sjccertsgs@sjc.state.ma.us or 617-557-1050.



                                                     Very truly yours,




                                                 MAURA S. DOYLE
                                                 Clerk
                                                 Supreme Judicial Court


MSD/CM
Clearance: 5.7.2024 and 5.6.2024
Enclosures
                                Case 1:21-cr-00399-RDM Document 298-1 Filed 06/10/24 Page 2 of 2

                                             COMMONWEALTH OF MASSACHUSETTS
                        SUFFOLK, SS.




                                     BE IT REMEMBERED, that at the Supreme Judicial Court holden at Boston
                        within and for said County of Suffolk, on                                                  November 24, 2014,

                        said Court being the highest Court of Record in said Commonwealth:



                                                                               Maksim Nemtsev


                      being found duly qualified in that behalf, and having taken and subscribed

                      the oaths required by law, was admitted to practice as an Attorney, and, by virtue

                      thereof, as a Counsellor at Law, in any of the Courts of the said Commonwealth:

                      that said Attorney is at present a member of the Bar, and is in good standing
                      according to the records of this Court*.

                                     In testimony whereof, I have hereunto set my hand and affixed the

                                                  seal of said Court, this seventh                                           day of             June
                                                                   in the year of our Lord two thousand and twenty-four.




                                                                                                                   MAURA S. DOYLE, Clerk




* Records of private discipline, if any, such as a private reprimand imposed by the Board of Bar Overseers or by any court, are not covered by this certification. X3116.

                                                          Amended January 2022, effective February 2022 for digital and/or electronic attestation for the Supreme Judicial Court for the County of Suffolk.
